        Case 1:18-cr-00088-SPW Document 55 Filed 12/06/18 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                         CR 18-88-BLG-SPW-3

                    Plaintiff,
                                                  ORDER
vs.

GARY HOLLISTER AINSWORTH,

                    Defendant.

      On December 6, 2018, the Court held a detention hearing at which

Defendant sought release to attend inpatient chemical dependency treatment at the

Rimrock Foundation in Billings, Montana. Accordingly, IT IS ORDERED:

      1.     The detention hearing will be continued as to the determination of

Defendant’s release pending trial.

      2.     Defense counsel shall file a motion once a firm bed date has been

established, and the Court will temporarily release Defendant to attend treatment at

the Rimrock Foundation.

      3.     At that time, Defendant shall be released temporarily into the custody

of his wife, Kylee Jarvie, so that Ms. Jarvie may transport Defendant to the

Rimrock Foundation.

      4.     Defendant must remain at the Rimrock Foundation for the entire

period of inpatient treatment. Upon successful completion of the program, or
        Case 1:18-cr-00088-SPW Document 55 Filed 12/06/18 Page 2 of 2



sooner if he is removed from the program, Defendant shall immediately report to

the U.S. Marshals in Billings, Montana and return to custody. At that time, the

Court will set the matter for a further detention hearing.

      DATED this 6th day of December, 2018.

                                        _______________________________
                                        TIMOTHY J. CAVAN
                                        United States Magistrate Judge
